Case 1:23-cv-00809-RDA-WEF Document 128 Filed 03/05/24 Page 1 of 2 PageID# 1500




                           THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

   PAUL SHAO

           Plaintiff,

   v.                                                         No.: 1:23-cv-00809

   ALLSTATE INSURANCE COMPANY,

           Defendant.


                        DEFENDANT ALLSTATE INSURANCE COMPANY’S
                          NOTICE OF WAIVER OF ORAL ARGUMENT

          Please Take Notice that pursuant to Local Civil Rule 7, Defendant Allstate Insurance

  Company, hereby waives oral argument for Motion to Compel Deposition (Dkt. 127) and submits

  the case on the record and the briefs.



  Dated: March 5, 2024                              Respectfully submitted,

                                                    /s/ Laura Seferian
                                                    Laura Seferian (Va. Bar No.: 92510)
                                                    J. Scott Humphrey (admitted pro hac vice)
                                                    Katie M. Burnett (admitted pro hac vice)
                                                    Meghan Golden (admitted pro hac vice)
                                                    Benesch, Friedlander, Coplan & Aronoff
                                                    LLP
                                                    71 South Wacker Drive, Suite 1600
                                                    Chicago, Illinois 60606-4637
                                                    Telephone: 312.212.4949
                                                    Facsimile: 312.767.9192
                                                    Email: lseferian@beneschlaw.com
                                                    shumphrey@beneschlaw.com
                                                    kburnett@beneschlaw.com

                                                    Attorneys for Defendant Allstate Insurance
                                                    Company




  24067807 v1
Case 1:23-cv-00809-RDA-WEF Document 128 Filed 03/05/24 Page 2 of 2 PageID# 1501




                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 5th day of March, a copy of the foregoing Notice of Waiver of

  Oral Argument was mailed first-class, postage prepaid, and emailed to:


          Paul Shao (Plaintiff)
          9233 Lee Masey Drive
          Lorton, Virginia 22079
          (202) 290-6300
          paulyshao@gmail.com


                                               /s/ Laura Seferian
                                               Laura Seferian




                                                   2
  24067807 v1
